Case 3:19-cv-00067-REP-RCY Document 29 Filed 09/17/20 Page 1 of 5 PageID# 88




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                           Richmond Division


BYRON BROWN,


     Plaintiff,

V.                                         Civil Action No. 3:19CV67

HAROLD CLARKE, ^ al.,

     Defendants.


                           MEMORANDUM OPINION


     Byron Brown, a Virginia inmate proceeding pro se, filed this

42 U.S.C. § 1983 action.        Brown names Harold Clarke, the Director

for the Virginia Department of Corrections ("VDOC"), and Sarah

Harman, the Coordinator of the ORBIT Program^ as defendants. The

matter is before the Court on Brown's failure to timely serve

Defendant Harman and DEFENDANT CLARKE'S MOTION TO DISMISS PURSUANT

TO 12(B)(6) ("Motion to Dismiss," EOF No. 18).           For the reasons

that follow, all claims against Defendant Harman will be dismissed,

the Motion to Dismiss will be granted, and the action will be

dismissed.




     1   ORBIT   stands   for    Opiate   Recovery   Based   on   Intensive
Tracking.    It is a recovery program for inmates that are addicted
to opiate based drugs.      https://henrico.us/sheriff/transitional-
programs/the-o-r-b-i-t-program/ (last visited Sept. 9, 2020).
Case 3:19-cv-00067-REP-RCY Document 29 Filed 09/17/20 Page 2 of 5 PageID# 89
Case 3:19-cv-00067-REP-RCY Document 29 Filed 09/17/20 Page 3 of 5 PageID# 90
Case 3:19-cv-00067-REP-RCY Document 29 Filed 09/17/20 Page 4 of 5 PageID# 91
Case 3:19-cv-00067-REP-RCY Document 29 Filed 09/17/20 Page 5 of 5 PageID# 92
